          EXHIBIT A11




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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF OKLAHOMA


                                                            No. 6:17-cv-00033-RJS-SPS
     IN RE: BROILER CHICKEN GROWER
     LITIGATION                                             The Honorable Robert J. Shelby
                                                            The Honorable Steven P. Shreder



                             CASE MANAGEMENT ORDER NO. 1
          Plaintiffs Haff Poultry, Inc. (“Haff”), Nancy Butler, Johnny Upchurch, Jonathan Walters,
 Myles Weaver, and Melissa Weaver (collectively, “Plaintiffs”), on behalf of themselves and all
 others similarly situated, and Defendants Tyson Foods, Inc., Tyson Chicken, Inc., Tyson Breeders,
 Inc., and Tyson Poultry, Inc. (collectively, “Tyson”); Pilgrim’s Pride Corporation (“Pilgrim’s”);
 and Perdue Foods, LLC (“Perdue”) (collectively, “Defendants”)1 have agreed in light of directions
 from the Court during the Rule 16 Conference, and the Court hereby orders, that this case shall be
 governed by the following schedule:

                  DATE                                      EVENT
                             Producing Parties to Provide Organizational Charts (if available) and
                3/30/2020    Proposed Custodians, Non-Custodial Document Sources, and Search
                             Methodology

                3/30/2020    Parties Exchange Initial Disclosures

                3/30/2020    Parties Submit Rule 16 Report and First Status Report2

                             Parties to Confer Re: any Areas of Dispute Involving Custodians, Non-
                4/24/2020
                             Custodial Document Sources, and Search Methodologies
                             Parties to Submit Joint Letter to Court Regarding any Areas of Dispute
                             Re: Custodians, Non-Custodial Document Sources, and Search
                5/15/2020
                             Methodologies3



 1
   Plaintiffs and Defendants shall be collectively referred to as “Parties.” Plaintiffs collectively
 and Defendants collectively may also be referred to as a “side.”
 2
     Supplemental Status Reports every 90 days.
 3
  Copies of all Reports/Letters contemplated by this Order must be provided both to the assigned
 District Judge and Magistrate Judge.

                                                    1
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                              Deadline to Begin Rolling Production of Documents in Response to
                8/21/2020
                              Requests for Production Served on or Before 2/25/20204
                              Deadline for Completion of Document Production of Transactional
                              Data in Response to Requests for Production Served on or Before
                10/2/2020
                              2/25/2020
                              Deadline for Completion of Document Production in Response to
                11/20/2020    Requests for Production Served on or Before 2/25/2020


                              Deadline to Amend Pleadings without Further Leave of the Court
                1/21/2021


                9/24/2021     Close of Fact Discovery5

                              Deadline to Serve Expert Reports on all Issues on which a Party has the
                11/19/2021
                              Burden of Proof

                1/28/2022     Deadline to Serve Opposing Expert Reports


                3/11/2022     Deadline to Serve Rebuttal Expert Reports


                 5/6/2022     Deadline for Completion of Expert Discovery6


                6/17/2022     Deadline to File Class Certification Motions


                6/17/2022     Deadline to File Daubert Motions

                              Deadline to File Opposition Memoranda to Class Certification and
                7/29/2022
                              Daubert Motions

                 9/2/2022     Deadline to File Reply Memoranda in Support of Daubert Motions

                 9/9/2022     Deadline to File Reply Memoranda in Support of Class Certification


 4
     Privilege Logs must be provided within 30 days of each production of documents.
 5
   All Requests for Production must be served at least 75 days before the end of fact discovery.
 All Interrogatories and Requests for Admission must be served at least 45 days before the end of
 fact discovery.
 6
  Absent agreement of the Parties, each expert is subject to a maximum of one deposition lasting
 no more than seven hours.
                                                    2
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              10/14/2022       Deadline to File Motions for Summary Judgment

               12/2/2022       Deadline to File Oppositions to Motions for Summary Judgment


              12/23/2022       Deadline to File Reply Memoranda in Support of Summary Judgment


        Discovery in this case shall be governed by the Federal Rules of Civil Procedure and the
 Local Rules of the United States District Court for the Eastern District of Oklahoma. In recognition
 of the fact that this case will require additional discovery beyond that provided for in those rules,
 Plaintiffs and Defendants have agreed, and the Court hereby orders, that discovery in this case
 shall be governed by the following limitations:
        1. General: The Parties agree that for purposes of these discovery limitations, each
            Defendant family shall be considered a single “party.” To illustrate, the four Tyson
            defendants—Tyson Foods, Inc., Tyson Chicken, Inc., Tyson Breeders, Inc., and Tyson
            Poultry, Inc.—shall be considered together such that Tyson is subject to no more than
            25 interrogatories as set forth below.
        2. Interrogatories: Each side may propound up to 45 interrogatories under Fed. R. Civ.
            P. 33. The Parties further agree that no party shall be subject to more than 25
            interrogatories.
        3. Depositions:
                a. Each side shall be limited to 250 hours of party depositions and 500 hours of
                    total deposition time for both party and non-party depositions. No party may be
                    subject to more than 13 depositions. Further, each party shall be subject to no
                    more than 14 hours of Fed. R. Civ. P. 30(b)(6) deposition testimony. These
                    limits do not include depositions of expert witnesses disclosed under Fed. R.
                    Civ. P. 26(a)(2).
                b. Absent agreement or leave of Court, no witness shall be deposed for more than
                    one day of seven (7) hours. For purposes of deposition limits, each seven (7)
                    hours of a Fed. R. Civ. P. 30(b)(6) deposition shall count as a single deposition,
                    regardless of the number of witnesses designated to testify.
                c. Excluded from any deposition limits are depositions of non-previously-deposed
                    witnesses who appear on an opposing party’s final pre-trial witness list, unless

                                                     3
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                  such witnesses were (i) discovery custodians, or (ii) previously identified in
                  initial disclosures or supplements thereto, served at least sixty days prior to the
                  conclusion of fact discovery.
              d. In addition, for each named Plaintiff added in an amended pleading, Defendants
                  shall receive an additional seven (7) hours of deposition time if the Plaintiff is
                  a natural person or 14 hours of deposition time if not, provided that such time
                  is used only to depose the newly-added Plaintiff(s). If, prior to being deposed,
                  a named Plaintiff is withdrawn and substituted for another named Plaintiff,
                  Defendants shall not receive the additional hours of deposition time described
                  above. If the withdrawn Plaintiff was previously deposed, the Defendants shall
                  receive the additional hours of deposition time described above for each
                  substitute named Plaintiff.
       4. Requests for Production: The Parties agree that each side shall endeavor to propound
           no more than two sets of requests for production.
       5. Requests for Admission: The Parties agree that each side may serve up to 50 requests
           for admission under Fed. R. Civ. P. 36.


 IT IS SO ORDERED.


 Date: April 13, 2020                                 ____________________________________
                                                       _____________
                                                                  __________________
                                                      Hon.
                                                       on. Robert J. Shelby
                                                                   J S helby
                                                      United
                                                       nited States District Judge




                                                  4
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